                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

                                              )
UNITED STATES OF AMERICA                      )      Case No. 1:22-CR-165
                                              )
               v.                             )      Hon. Michael S. Nachmanoff
                                              )
HATCHET M. SPEED,                             )      Trial: January 17, 2023
                                              )
               Defendant.                     )

              GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE
           TESTIMONY AND EVIDENCE REGARDING VIENNA ARSENAL

       The defendant, Hatchet Speed, has been indicted on three counts of possession of a silencer

not registered to him in the National Firearms Registration and Transfer Record (“NFRTR”), in

violation of the National Firearms Act (“NFA”), 26 U.S.C. § 5861(d). Speed was originally tried

for these offenses on December 12, 2022. ECF No. 87. On December 16, 2022, the Court declared

a mistrial after the jury repeatedly indicated that it was deadlocked and unable to reach a verdict.

ECF No. 93. Speed’s retrial is scheduled to begin on January 17, 2023. Id. In advance of the

retrial, the United States moves to preclude the defendant from introducing evidence concerning

Vienna Arsenal’s sale of “solvent traps” made by a different manufacturer.

                                        BACKGROUND

       In a meeting in April 2022, Speed and the FBI undercover employee, Al, discussed the use

of solvent traps to make silencers. Al asked if a solvent trap could shoot more than one round and

stay quiet. Speed responded that he had “to test and see . . . but yeah, uh, they stay quiet.” When

Al asked where he could buy one, Speed responded that Vienna Arsenal had them or he could get

them online. Speed stated that he purchased his solvent traps online before realizing that Vienna

Arsenal sold them. Speed could not remember the name of the site where he bought his solvent
traps, but he said that they seemed to be good quality. Speed indicated that if the Al went to Vienna

Arsenal or any place that sells solvent traps, the retailers there would know the purpose of the

solvent trap and that Al would not have to “say . . . what it’s for.” Speed stated that “you can just

point to them and just ask them to explain it to you.” According to Speed, the retailer will explain,

“‘If you do this and this’ and then you have to have a form on there.” Speed noted, “Of course,

they’re . . . giving you the . . . legal version, which they have to do.”

        Speed stated that he had not used his solvent traps as silencers yet. Speed repeated that a

“Form 1” must be submitted before drilling the hole in order to make the silencer legally. Speed,

however, stated, “[T]hat would be the legal way of doing it, you know. If you forget to fill out

Form 1, nobody ever finds you on the form.” When Al asked about the drill bit size to use, Speed

noted that “you buy [the solvent trap] sized for a particular caliber . . . but then . . . your drill bit

has to be the right size.” Speed explained, “I haven’t figured that detail out. I just figure when I

want to figure that detail out, it will be easier to figure out the drill bits and whatnot. If that’s all I

have to figure out then everything is,” and then was interrupted.

        On December 30, 2022, a Special Agent from the Bureau of Alcohol, Tobacco, Firearms

& Explosives (“ATF”) and the Federal Bureau of Investigation (“FBI”) case agent in this matter,

Special Agent Mariam Hanna, visited Vienna Arsenal. There, the Special Agents saw several

items in a display case that appeared to be silencers. A Vienna Arsenal employee told the Special

Agents—who had not identified themselves as law enforcement officers—that, among other

things, Vienna Arsenal did not sell silencers but instead sold “solvent traps” manufactured by JK

Armament; that “solvent traps” were used to capture cleaning fluid when cleaning a firearm; that

while the solvent traps were not silencers, they could be converted into very effective silencers

with some machining to drill holes in the baffles; that the JK Armament “solvent traps” were made



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of aluminum; and that an ATF Form 1 needed to be submitted and approved before converting the

device to a silencer. The employee also noted that Vienna Arsenal does not have a license to sell

silencers, but expected to receive that license in January or February 2023. The employee took a

JK Armament “solvent trap” out of the display case, partially disassembled it, and showed the

Special Agents that the baffles within the device did not have any holes in them. The United States

has produced the report reflecting this information to the defendant. 1

          In advance of trial, the United States moves for the Court to preclude the defense from

eliciting testimony, including from Special Agent Hanna, or admitting evidence regarding solvent

traps sold at Vienna Arsenal. Such testimony and evidence is inadmissible at trial because (1) it

is inadmissible hearsay; (2) it is irrelevant to the fact-specific case at hand; (3) even if marginally

relevant, its probative value would be substantially outweighed by a risk of unfair prejudice,

confusing the issues, and misleading the jury; (4) it would support an improper mistake-of-law

defense; and (5) it would constitute an improper appeal to jury nullification.

                                            ARGUMENT

          Testimony and evidence regarding the information that the Special Agents learned at

Vienna Arsenal on December 30, 2022, is inadmissible for several reasons.

          First, to the extent the defense sought to cross examine Special Agent Hanna on the

information, such testimony would be inadmissible hearsay. See Fed. R. Evid. 801(c). With the

exception of the observable physical characteristics of the JK Armament devices—which the

Special Agents observed to resemble silencers—the information regarding what the devices were

(i.e., “solvent traps”), how they could be used (i.e., to clean firearms and as silencers), and what

needed to be done to use the devices as silencers (i.e., drilling holes and filing an ATF Form 1), is



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    If the Court wishes to review the report, the United States will provide a copy to chambers.
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all based on what the Vienna Arsenal employee told the Special Agents. No exception to the

hearsay rule applies. See Fed. R. Evid. 803, 804.

       Second, evidence regarding the JK Armament devices sold at Vienna Arsenal is irrelevant

in the instant case. See Fed. R. Evid. 401. The offenses in this case concern the defendant’s

purchase of three devices from a different company, Hawk Innovative Tech. See Indictment, ECF

No. 1. Evidence regarding the JK Armament devices sold at Vienna Arsenal has no “tendency to

make a fact [of consequence in determining the action] more or less probable than it would be

without the evidence.” Id. Indeed, the physical characteristics of the devices emphasize the

irrelevance of any comparison: while the Hawk Innovative Tech devices have baffles containing

holes already sized to specific calibers of firearms, the JK Armament devices had solid baffles

with no holds drilled in them. The characteristics of the JK Armament devices, or information

from Vienna Arsenal employees describing such characteristics, are irrelevant to proving whether

the Hawk Innovative Tech devices—the possession of which the defendant has been charged—

are silencers. Because this evidence is irrelevant, it is inadmissible. See Fed. R. Evid. 402.

       Third, even if the evidence had some marginal relevance, its probative value would be

“substantially outweighed by a danger of . . . unfair prejudice, confusing the issues, misleading the

jury, undue delay, [or] wasting time.” Fed. R. Evid. 403. Whether a device is a silencer is a

design-specific (and, for a combination of parts, intent-specific) inquiry. Due to the differences

between the JK Armament and Hawk Innovative Tech devices, the evidence would present a

substantial risk of confusing or misleading the jury. And, as described further below, the evidence

would be unfairly prejudicial insofar as it would encourage jury nullification.

       Fourth, testimony or evidence regarding the Vienna Arsenal employee’s statement that an

ATF Form 1 needed to be submitted and approved before converting the JK Armament devices



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into silencers would support a mistake-of-law defense that the Court has already determined is

improper. See Order on Objections and Motions in Limine, ECF No. 83. At the threshold, there

is no evidence that anyone at Vienna Arsenal communicated this to the defendant. But also, as the

United States explained in its prior Motion in Limine, ECF No. 37, at 9–17, it is irrelevant whether

the defendant thought the devices did not become a “silencer” and subject to the NFA’s registration

requirements until the holes in the front end-caps of the Hawk Innovative Tech devices were

completed. The defendant does not need to have knowledge of the law to violate 26 U.S.C.

§ 5861(a), and his ignorance or mistake of law is no excuse. See United States v. Cox, 906 F.3d

1170, 1190 (10th Cir. 2018); United States v. Moody, 2 F.4th 180, 197-98 (4th Cir. 2021); United

States v. Dodson, 519 F. App’x 344, 350-51 (6th Cir. 2013).

       Finally, testimony or evidence that Vienna Arsenal sells devices that seem to be similar to

the Hawk Innovative Tech devices would support an improper appeal for jury nullification. As

the United States has explained elsewhere, see Gov’t Motion in Limine to Preclude Improper

Closing Argument, ECF No. 103, at 10, such an argument does not go to the elements of the

offense (i.e., it is not indicative of the design of or intent for the devices, or the defendant’s

knowledge of the characteristics of the devices). Instead, the argument—and any evidence to

support such an argument—is an improper appeal for the jury to decide the case on the grounds

that other people are doing the same thing as the defendant. Evidence supporting an improper

appeal for jury nullification, such as evidence of JK Armament devices sold at Vienna Arsenal,

should therefore be excluded under Rule 403.




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                                        CONCLUSION

       For the foregoing reasons, the Court should preclude the defendant from eliciting testimony

or otherwise introducing evidence regarding “solvent traps” sold at Vienna Arsenal.


                                            Respectfully submitted,

                                            Jessica D. Aber
                                            United States Attorney

                                            __________/s/______________
                                            Thomas W. Traxler
                                            Amanda Lowe
                                            Assistant United States Attorneys
                                            United States Attorney’s Office
                                            2100 Jamieson Avenue
                                            Alexandria, VA 22314
                                            Telephone (703) 299-3700
                                            Facsimile (703) 299-3980
                                            Email: thomas.traxler@usdoj.gov
                                                   amanda.lowe@usdoj.gov




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                                   CERTIFICATE OF SERVICE


          I hereby certify that on the 4th day of January, 2023, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will electronically serve all counsel of

record.


                                                        __________/s/______________
                                                        Amanda Lowe
                                                        Assistant United States Attorney




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